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NORTHERN DISTRICT OF TEXAS

    
 
  
 

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gaia IN THE UNITED STATES DISTRICT GOURT

FOR THE NORTHERN DISTRICT OF TEXAS | APR | 0 2008

   

  

DALLAS DIVISION
CLERK, U.S. Dis
RICHARD BEALL, § By CT peer
§ Deputy
Plaintiff, §
§
VS. § Civil Action No. 3:06-CV-0733-D
§
DALLAS POLICE, et al., §
§
Defendants. §

JURY NOTE NO.
(Presiding Juror, please insert Note No.)

TO CHIEF JUDGE FITZWATER:

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Some ~ju@oes Need to Leave AgouT Sem
Reauisy Fecaecss UNTIL Tomoko ,

 

 

 

 

 

 

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(To be signed by Presiding Juror)

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